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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

In Re: Valsartan N-Nitrosodimethylamine (NDMA)                             MDL No: 2875
Contamination Products Liability Litigation


                                 NOTICE OF RELATED ACTION

       Pursuant to Rule 6.2(d) of the Rules of Procedure for the Judicial Panel on Multidistrict

Litigation (“Panel”), Maine Automobile Dealers Association, Inc. Insurance Trust, Plaintiff,

hereby notifies the Clerk of the Panel of the related action listed on the attached Schedule of

Action. Copies of the docket sheet and complaint are also attached. Plaintiff’s complaint involves

common factual questions with those actions pending transfer to the District of New Jersey on

Plaintiff Robert Kruk (Case No. 18-cv005944 (N.D. Ill.)) Motion for Transfer of Actions to the

District of New Jersey Pursuant to 28 U.S.C. § 1407 for Coordinated or Consolidated Pretrial

Proceedings. See ECF 1.

Dated: January 30, 2019                             /s/Gregory P. Hansel
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